                                 UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF TENNESSEE
                                       AT CHATTANOOGA


 JOSHUA TREY WHITE,                                  )
                                                     )
      Plaintiff,                                     )
                                                     )
 v.                                                  )           No. 1:22−cv−00249−KAC−CHS
                                                     )
 BLUECROSS BLUESHIELD OF TENNESSEE,                  )
 INC.,                                               )
                                                     )
      Defendant.



                           ORDER GOVERNING MOTIONS TO DISMISS



    This Order Governing Motions to Dismiss sets forth the meet and confer requirements that must be
 certified before filing a motion to dismiss in this Court.

    A motion pursuant to Federal Rule of Civil Procedure 12(b) is discouraged if the defect is likely to be
 cured by filing an amended pleading. Therefore, the parties must meet and confer prior to the filing of a
 motion to dismiss to determine whether it can be avoided. The duty to confer also applies to parties
 appearing pro se. Consequently, a motion to dismiss must be accompanied by a notice indicating that the
 parties have conferred to determine whether an amendment could cure a deficient pleading, and have
 been unable to agree that the pleading is curable by a permissible amendment.

   MOTIONS TO DISMISS THAT DO NOT CONTAIN THE REQUIRED CERTIFICATION ARE
 SUBJECT TO BEING STRICKEN ON THE COURT'S MOTION.

    IT IS FURTHER ORDERED that pro se parties familiarize themselves with the Federal Rules of
 Civil Procedure and Local Rules for the Eastern District of Tennessee, which can be found on the Court's
 web site at http://www.tned.uscourts.gov.

 IT IS SO ORDERED.

                                                 s/Katherine A Crytzer
                                                 UNITED STATES DISTRICT JUDGE




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